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                     5       Fax: (702) 778-9709
                             Attorney for Defendant, DYWON JOHNSON
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                     8                                     UNITED STATES DISTRICT COURT

                     9                                              DISTRICT OF NEVADA

                   10        UNITED STATES OF AMERICA,                                CASE NO. 2:16-cr-00052-GMN-CWH-4

                   11                                         Plaintiff,

                   12        vs.

                   13        DYWON JOHNSON.

                   14                                         Defendant.

                   15

                   16            DEFENDANT DYWON JOHNSON'S UNOPPOSED MOTION TO CONDUCT A PRE-
                                   PLEA PRESENTENCE INVESTIGATION REPORT AND PROPOSED ORDER
                   17

                   18                COMES NOW, the Defendant, Dywon Johnson ("Dywon"), by and through his attorney,

                             Paola M. Armeni, Esq., of the law firm of Gentile Cristalli Miller Armeni Savarese, and hereby
                   19

                   20        moves this Honorable Court to order that a Pre-Plea Pre-Sentence Investigation Report ("PSR")

                   21        be prepared by the United States Probation Office so that a formal determination 1 of Dywon's

                             criminal history score can be ascertained. As this Honorable Court is aware, depending on the
                   22

                   23        determination of his criminal history score, Dywon's sentencing exposure could significantly

                   24        increase.

                   25                A proposed plea agreement has been provided so in order to help facilitate a resolution of

                   26        this matter and in the interest of judicial economy, it is respectfully requested that the United

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                             1
                              Counsel for Dywon has completed an informal determination of his criminal history score and has spoken to US
                   28        Probation informally regarding the same.
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                      1       States Probation Office be directed to prepare a pre-plea PSR as soon as practicable. Assistant

                      2       United States Attorney, Phillip Smith has no objection to Dywon's request.

                      3              Dated this 20th day of September, 2016.

                      4                                                        GENTILE CRISTALLI
                                                                               MILLE       N I SAVARESE
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                                                                               PAOL~             NI
                      7                                                        Nevada Bar No. 8357
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                      9                                                        Attorney for Defendant, DYWON JOHNSON

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                      1                                 UNITED STATES DISTRICT COURT

                      2                                         DISTRICT OF NEVADA

                      3
                              UNITED STATES OF AMERICA,                        CASE NO. 2:16-cr-00052-GMN-CWH-4
                      4
                                                           Plaintiff,
                      5
                              vs.
                      6
                              DYWON JOHNSON.
                      7
                                                           Defendant.
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                      9
                                                                        ORDER
                    10
                                      IT IS HEREBY ORDERED that Defendant Dywon Johnson's Unopposed Motion for a
                    11
                              Pre-Plea Presentence Investigation Report is GRANTED.
                    12
                                      IT IS FURTHER ORDERED that the United States Probation Office shall prepare and
                    13
                              provide to the Court by no later than November 20, 2016, a Pre-Plea Presentence Investigation
                    14
                              Report with the guideline calculation requested for Defendant Dywon Johnson's criminal history
                    15
                              only.
                    16
                                                   21_ day of September, 2016.
                                      Dated this _ _
                    17

                    18
                                                                         GLORIA M. NAVARRO
                    19                                                   UNITED STATES DISTRICT COURT JUDGE
                                                                         CASE NO.: 2:16-cr-00052-GMN-CWH-4
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                                                             CERTIFICATE OF SERVICE

                        2             The undersigned hereby certifies that service of DEFENDANT DYWON JOHNSON'S

                        3     UNOPPOSED         MOTION         TO     CONDUCT         A    PRE-PLEA        PRESENTENCE
                        4     INVESTIGATION REPORT AND PROPOSED ORDER was served on the 20 1h of
                        5     September, 2016, via the Court's CM/ECF electronic filing system addressed to all parties on the
                        6     e-service list.

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                                                                          GENTILE CRISTALLI
                       10                                                 MILLER ARMENTSAVARESE

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